






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00020-CR






Dianna Luera Lopez, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF RUNNELS COUNTY, 119TH JUDICIAL DISTRICT


NO. 4214, HONORABLE BEN WOODWARD, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




Dianna Luera Lopez seeks to appeal from an order revoking probation.  Sentence was
imposed on October 23, 2002.  The deadline for filing a motion for new trial was therefore
November 22, 2002.  Tex. R. App. P. 21.4(a).  The motion for new trial was filed December 20,
2002.  Because the motion for new trial was not timely, the notice of appeal filed January 3, 2003,
also was not timely.  Tex. R. App. P. 26.2(a).  Under the circumstances, we lack jurisdiction to
dispose of the purported appeal in any manner other than by dismissing it for want of jurisdiction. 
Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996).


The appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear 

Dismissed for Want of Jurisdiction

Filed:   February 6, 2003

Do Not Publish


